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IN THE uNI'rED sTATEs DIsTRIcT coURT m BHJL D-G.
FoR THE WESTERN DISTRICT oF TENNESSEE _
WESTERN DIvIsIoN 05 JUL "5 PH I»= l»2
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W OFW,%.'EL

YVONNE BLACKMOND ,
Plainti f f ,
V .

No. 02-2890 Ma/V

UT MEDICAL GROUP, INC.,

Defendant.

 

ORDER ALLOWING COUNSEL TO WITHDR.AW

 

Before the Court is a “Motion to Withdraw as Counsel for
Plaintiff,” filed by Maureen T. Holland (“Holland”), attorney for
Plaintiff, on June 16, 2005. Plaintiff Yvonne Blackmond
(“Blackmond”) mailed a letter to the court objecting to Holland's
motion to withdraw as Blackmond's Counsel on June 17, 2005.
Defendant UT Medical Group, Inc., does not object to the motion to
withdraw. (Mot. at 3.)

Holland states that she and her client have “different
perspectives ... on the objectives and actions to be taken in this
case, and [Blackmond's] insistence on those actions and/or
objectives makes termination of the representation proper under
[Tennessee Rule of Professional Conduct] 1.16.” (Mot. at 2.) Under
Tennessee Rule of Professional Conduct 1.16 a lawyer may withdraw

from the representation of a client if a client “insists upon

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with Ru|e 58 and!or 79(a) FRCP on _j__:L' 05

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pursuing an objective or taking action that the lawyer considers
repugnant or imprudent.” Tenn. R. Prof. Conduct l.lG(b)(B); gee
also State v. Reid, No. M2003~00539-CCA-R3-DD, 2005 WL 1315689, at
*35 (Tenn. Crim. App. June 3, 2005). Consequently, Blackmond's
“insistence on ... actions” that are not consistent with Holland's
“perspectives” on this case constitutes good cause for Holland's
withdrawal as Blackmond's counsel under Rule 1.16.

Further, counsel may “withdraw from the representation of a
client if the withdrawal can be accomplished without material
adverse effect on the interests of the client.” Tenn. R. Prof.
Conduct 1.16(b). Blackmond originally filed this case pro §e. Since
filing the Complaint, she has filed two requests for appointment of
counsel. The court denied both requests, in part because the case
is not overly complex. gee November 26, 2002, Order; April 11,
2003, Order. Thus, this is a case that Blackmond is capable of
taking to trial without the assistance of counsel.

Blackmond, in her letter to the court, argues that she would
be prejudiced by Holland's withdrawal because trial is set for
August 29, 2005. Consequently, to give Blackmond adequate time to
prepare for trial or to find new counsel, the court will reset the
trial date at a status conference to be held on Wednesday, July 20,

2005, at 1=30 p.m.

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For the foregoing reasons, Plaintiff's Counsel's motion to

withdraw is GRANTED.

So ordered this S:r£day of July 2005.

N%/%_`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

